IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
Case No. 7:13-cv-00145

Lisa Cooper
Plaintili`f($),

VS

The Smithfle|d Packing Co., |nc.
Defendant(s).

DISCLOSURE OF CORP()RATE AFFILIATIONS AND OTHER ENTITIES WI'I`H A
DIRECT FINANCIAL INTEREST IN LITIGATION

Pursuant to Fed.R.Civ.P. 7.l and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Loca] Criminal
Rule 12.3,

Lisa Cooper Who is Piaintiff

(name of party) (plaintifl`/defendant/other: )

 

 

makes the following disclosure:

l. ls party a publicly held corporation or other publicly held entity?

YES O No @

2. Does party have any parent corporations?

YES No @
If yes, identify all parent corporation, including grandparent and great-grandparent corporations:

3. ls 10% or more of the Stock of a party owned by a publicly held corporation or other
publicly held entity?

YES O No @

lfyes, identify all such owners:

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4. ls there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 73 or Local Criminal Rule 12.3)?

YEs O No @

lf yes, identify entity and nature of interest

5. Is party a trade association?

YES O No
If yes, identify all members of the association, their parent corporations, and any publicly held

companies that own 10% or more of a member’s stock:

6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors’s committee:

N/A

gignatm~e; ls/ Ange|a Gray

 

Date: JUly 15, 2013

 

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